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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Richmond Division

 TAMEEKA JACKSON, Personal                            )
 Representative of the Estate of Shawn                )
 Demont Jackson,                                      )
        Plaintiff,                                    )
                                                      )
                  v.                                  )                  Civil Action No. 3:24CV528 (RCY)
                                                      )
 SCHOOL BOARD FOR THE CITY OF                         )
 RICHMOND, VIRGINIA, et al.,                          )
      Defendants.                                     )
                                                      )

                                                     ORDER

         This matter is before the Court on Defendant Gilstrap’s Motion to Dismiss (ECF No. 60).

 In light of the Joint Stipulation of Dismissal as to Defendants Jason Kamras, Robert Gilstrap, and

 Kevin Olds that was filed on February 26, 2025, ECF No. 101, and those Defendants’ consequent

 dismissal from the action, the Court DENIES Defendant Gilstrap’s Motion to Dismiss as MOOT. 1

         Let the Clerk file this Order electronically and notify all counsel accordingly.

         It is so ORDERED.


                                                                             /s/
 Date: March 3, 2025                                           Roderick C. Young
 Richmond, Virginia                                            United States District Judge




         1
            Although Defendants Kamras and Olds also filed a Motion to Dismiss, ECF No. 63, and they likewise were
 included in and dismissed pursuant to the Joint Stipulation of Dismissal, the Court will not dismiss their Motion to
 Dismiss as moot, because it was joined by Defendant School Board for the City of Richmond, who is still a party in
 this case.
